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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Christopher M. Thomas                         :
                                              :
                       Plaintiff,             :       NO.: 17-1568
                                              :
               v.                             :
                                              :
Montgomery County, et al.                     :       JURY TRIAL DEMANDED
                   Defendants.                :


                                         STIPULATION

       AND NOW this 12th day of March, 2018, it is hereby STIPULATED and AGREED, by

and between all pertinent parties, by and through their undersigned counsel, that Plaintiff is

granted an extension until Thursday, March 29, 2018, to respond to Defendant Police Officer

Edwards Todd’s Motion for Partial Summary Judgment.


/s/ Matthew B. Weisberg                           /s/ Susanne McDonough
Matthew B. Weisberg, Esquire                      Susanne McDonough, Esquire
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Attorney for Plaintiff                            Attorney for Defendant




       AND IT IS SO ORDERED.


                                                      _______________________________
                                                                                    J.
